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   A.    Declaration of E. Powell Miller in Support of Plaintiffs’ Motion for
         Attorneys’ Fees, Costs, Expenses, and Service Award

   B.    Declaration of Philip L. Fraietta in Support of Plaintiffs’ Motion for
         Attorneys’ Fees, Costs, Expenses, and Service Award

   C.    Declaration of Frank S. Hedin in Support of Plaintiffs’ Motion for
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   D.    Declaration of Plaintiff Richard Pratt

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   F.    Loftus v. Outside Integrated Media, LLC, Transcript of Aug. 9, 2022
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